Case 1:18-mj-00647-CFH Document 1 Filed 10/29/18 Pa e 1 of 10

AO 106 (Rev. 04/10) Application for a Search Warrant (Page ])

 

UNITED STATES DISTRICT COURT
for the
Northern District of New York

In the Matter of the Search of

(Br:'efly describe the property to be searched
or identsz the person by name and nddress)

 

ease No. izis-MJ- § 147 (CFH)

One (1) Lenovo laptop computer, serial number:
CB l l 082 l 95 ;

CURRENTLY LOCATED AT THE
sCHODACK POLICE DEPARTMENT,
1797 COLUMBIA TURNPIKE,
CASTLETON, NEW YORK

APPLICA'I`ION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and
state under penalty of perjury that I have reason to believe that on the following person or property:
('z'denrf)j/ tire person or describe the properly to be searched and its given location ):

See Attachment A.

located in the Northern District of New York , there is now concealed
(z'demi)j) five person or describe the properly to be Seized).'

See Attachment B.

The baSiS fOI' the S€aI'Ch under F€d. R_ Cl'im. P. 41(0) iS (check one or rnore)!

>I¢ evidence of a crime;

El contraband, fruits of crime, or other items illegally possessed;

E property designed for use, intended for use, or used in committing a crime;
i___\ a person to be arrested or a person Who is unlawfully restrained

The search is related to a violation of:

Code Seetion Offense Description

18 U.S.C. § 2252A Receipt, Transportation, and Possession of Child Pornography
The application is based on these facts:

See attached affidavitl

Continued on the attached sheet.

l:l Delayed nOtiCC Of dayS (give exact ending date if more than 30 days):

is requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached Sheet.

Case 1:18-mj-00647-CFH Document 1 Filed 10/29/18 Page 2 of 10

AO 106 (Rev. 04/10) Application for a Search Warrant (Page 2)

 

DLLC @_h

Applicant ’s signature

FBI Special Agent David C. Fallon

 

Printed name and title

Swom to before me and signed in my presence
Date; october£_é, 201 s ng¢, j, /j

Jtidge 's signature

City and State: Albany, NY Hon. Christian F. Hummel, U.S. Magistrate Judge

 

 

Printed nance and title

Case 1:18-mj-00647-CFH Document 1 Filed 10/29/18 Page 3 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

I, David C. Fallon, being duly sworn, depose and state:
INTRODUCTION
l. I, David C. Fallon, duly state that I am a Special Agent With the Federal Bureau of
Investigation (FBI) and have been so employed since May 19, 1991. I am currently
assigned to the Albany, NY Division. My experience as an FBI Agent includes being
assigned to conduct criminal investigations occurring in the Northern District of New
York. I have been a Special Agent of the FBI for over twenty-seven years. I have
conducted numerous investigations of computer related crimes including crimes
associated with the possession/distribution/production of child pornography and child
exploitation using the Internet. I am also a member of the FBI’s Child Abduction Rapid
Deployment Team with extensive specialty training related to conducting, leading, and
managing investigations related to missing and abducted children. l also serve as the
case agent for the Albany Division’s Child Exploitation Task Force, which targets online
child sexual predators and those individuals who trade child pornography. Prior to
becoming employed as a Special Agent, I was an attorney licensed to practice law in the
State of Rhode Island. The facts in this affidavit come from my personal observations,
my training and experience, and information obtained from other agents, law
enforcement officers and witnesses. This affidavit is intended to show merely that there is
sufficient probable cause for the requested warrant and does not set forth all of my

knowledge about this matter.

Case 1:18-mj-00647-CFH Document 1 Filed 10/29/18 Page 4 of 10

2. 'I`his affidavit is made in support of an application for a warrant to search a
Lenovo brand laptop computer, serial number: CB11082195 (“the device’), currently in
the custody of the Schodack Police Department, hereinafter SPD, and also described in
Attachment A .
3. I make this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a search warrant authorizing the examination of
property_an electronic device_which is currently in law enforcement possession, and
the extraction from that property of electronically stored information for the evidence
detailed in Attachment B to this application and search warrant, which are items
evidencing a violation of Title 18, United States Code, Section 2252A (reeeipt and
possession of child pomography).
4. The device is currently in storage at the Schodack Police Department (SPD), 1797
Columbia Turnpike, Castleton, New York. In my training, experience and in
conversation with a representative of the SPD, I know that the device has been stored in a
manner in which its contents are, to the extent material to this investigation, in
substantially the same state as they were when the device first came into the possession
of SPD.

BASIS OF INFORMATION
5. The statements contained in this affidavit are based on my participation in the
investigation of this matter, on information l have received from other members of the
FBI and SPD. Since this affidavit is being submitted for the limited purpose of securing
a search warrant, I have not included each and every fact known to me concerning this

investigation I have set forth only the facts that I believe are necessary to establish

Case 1:18-mj-00647-CFH Document 1 Filed 10/29/18 Page 5 of 10

probable cause to believe that evidence of violations of Title 18, United States Code,
Section 2252A, as outlined in Attachment B, are located within the item, as described
above.
OVERVIEW OF INVESTIGATION

6. On October l, 2018, Jane Doe, a resident of Castleton, N.Y., called 911 to report
that she found child pornography on a family laptop used by both her and James
McGovern. SPD Patrolman Michael Miller responded to Jane Doe’s residence and spoke
with her. Patrolman Miller advised your affiant that he spoke with Jane Doe and she
advised him that McGovern has been downloading child pornography for several years,
and that she finally became sick and tired of it, and that is why she called 911 to report it.
7. Jane Doe then brought Patrolman Miller to the kitchen in her residence and
showed him a Lenovo laptop situated on top of the kitchen table. According to
Patrohnan Miller, Jane Doe opened the Intemet browser on the laptop’s desktop and
navigated to the Download section of the browser. Patrolman Miller observed that the
Download folder contained a number of jpeg files which depicted “underage, under-
developed girls naked and in sexual positions.” Patrolman Miller also advised your
l affiant that he observed images of underage girls engaged in sexual behavior with what
appeared to be semen on their genitalia, faces and stomachs. Jane Doe gave permission
for Patrolman Miller to remove the laptop from the residence. Thereafter, Patrolman
Miller secured the laptop and brought it to SPD where he placed it into evidence storage.

8. Accordingly, there is probable cause to believe that the device turned over to the
SPD contains information and evidence, including but not limited to graphic image files

depicting minors engaged in sexually explicit conduct, which, among other things, as

Case 1:18-mj-00647-CFH Document 1 Filed 10/29/18 Page 6 of 10

described below, is evidence of violations of Title 18, United States Code, Section
2252A, as more particularly described in Attachment B.
FORENSIC EVIDENCE

9. As further described in Attachment B, this application seeks permission to locate
not only electronically stored information that might serve as direct evidence of the
crimes described on the warrant, but also forensic evidence that establishes how the
device was used, the purpose of its use, who used it, and when. There is probable cause
to believe that this forensic electronic evidence might be on the device because:

a. Data on the storage medium can provide evidence of a file that Was once
on the storage medium but has since been deleted or edited, or of a deleted
portion of a file (such as a paragraph that has been deleted from a word
processing file. Web browsers, e-mail programs, and chat programs store
configuration information on the storage medium that can reveal

information such as online nicknames and passwords.

b. Forensic evidence on a device can also indicate who has used or controlled
the device. This “user attribution” evidence is analogous to the search for

“indicia of occupancy” while executing a search warrant at a residence.

c. A person with appropriate familiarity with how an electronic device works
may, after examining this forensic evidence in its proper context, be able
to draw conclusions about how electronic devices were used, the purpose

of their use, who used them, and when.

d. The process of identifying the exact electronically stored information on a
storage medium that are necessary to draw an accurate conclusion is a
dynamic process. Electronic evidence is not always data that can be
merely reviewed by a review team and passed along to investigators.
thther data stored on a computer is evidence may depend on other

information stored on the computer and the application of knowledge

4

Case 1:18-mj-00647-CFH Document 1 Filed 10/29/18 Page 7 of 10

about how a computer behaves. Therefore, contextual information
necessary to understand other evidence also falls within the scope of the

warrant.

Further, in finding evidence of how a device was used, the purpose of its use, who
used it, and when, sometimes it is necessary to establish that a particular thing is not
present on a storage medium
CONCLUSION

10. Based upon the above infonnation, probable cause exists to believe that
evidence of violations of Title 18, United States Code, Section 2252A, as outlined in
Attachtnent B, of this Affidavit, will be found within the device described above and
in Attachment A. Accordingly, l respectfully request that this Court issue a search

warrant authorizing examination of the contents of the device for the evidence and

wrist

David C. ramon
Special Agent
Federal Bureau of lnvestigation

items described in Aitachntent B.

worn to me this
_day of October, 2018

dane d //£.

Hon. Christian Hummel
United States Magistrate .1 udge

Case 1:18-mj-00647-CFH Document 1 Filed 10/29/18 Page 8 of 10

MM
PROPERTY To BE sEARCHED

A Lenovo brand laptop computer, serial number: CB11082195, currently in the custody
of the Schodack Police Department, 1797 Columbia Turnpike, Castleton, N.Y. (“the
device”). This Warrant authorizes the forensic examination of the device to identify the
electronically stored information described in Attachment B.

Case 1:18-mj-00647-CFH Document 1 Filed 10/29/18 Page 9 of 10

ATTACHMENT B
ITEMS TO BE SEIZED

Items evidencing violations of Title 18, United States Code, Section 2252A (Receipt,
Transportation, and Possession of Child Pomography):

1.

All visual depictions, including still images, videos, films or other recordings of
child pornography or minors engaged in sexually explicit conduct, as defined in
Title 18, United States Code, Section 2256, and any mechanism used for the
receipt or storage of the same, including but not limited to any and all computer
passwords, counter-forensic programs, and other data security devices designed to
restrict access to, hide, or destroy computer software, documentation, or data.
Data security devices may consist of hardware, software, or other programming
code.

Any and all documents, records, images, videos, emails, email software, associated
email addresses, email address book contents, intemet history, browsing history,
intemet search history, cookies, deleted files, bookmarked and favorite web pages,
user typed web addresses, desktop shortcuts, path and file names for files opened
through any media and/or image viewing software, anonymizing software,
encryption software, chat software, chat files, chat logs, chat names used, peer to
peer software, peer to peer files, contact lists, newsgroup postings by the user, IP
addresses assigned, access logs, and other evidence pertaining to the receipt,
transportation, and possession of images of minor children, including child
pornography or child erotica.

Records of personal activities relating to the operation and ownership of the media
set forth the search warrant, such as contacts, notes (however and wherever
written, stored, or maintained), and reference materials.

Any records pertaining to accounts held With Internet Service Providers or of
Internet use.

Records of address or identifying information for users of the device that is the
subject of the search warrant, and any names, user IDs, electronic ID numbers, and
passwords.

Documents and records, including, for example, electronically stored receipts,
banking records, bills, statements, telephone records, and other similar indicia of
ownership indicating occupation, possession, or control over the device to be
searched.

Computer records and evidence identifying who the particular user was who
transmported, downloaded or possessed any child pomography found on the

Case 1:18-mj-00647-CFH Document 1 Filed 10/29/18 Page 10 of 10

device, or who searched for, researched, Wrote about, or otherwise generated
evidence of the items listed in paragraph 1, above (evidence of attribution).

